IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

A.S.R., On his own behalf and on behalf)
of others similarly-situated, )
)
Petitioner, )
V. ) Civil No. 3:25-cv-00113

) Judge Stephanie L. Haines
DONALD J. TRUMP, Jn his official )
capacity as President of the United States, _)
et al., )
)
Respondents. )

ORDER OF COURT

AND NOW, to wit, this 13" day of May, 2025, pursuant to Federal Rule of Civil Procedure
23(c)(1)(C) and in accordance with the reasons stated in the accompanying Opinion, IT IS

HEREBY ORDERED that this Court decertifies the class announced in its Memorandum Order

at ECF No. 45.
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U.S. DISTRICT COURT JUDGE
